
OPINION OF THE COURT
LAWRENCE V. JOHNSTON, Circuit Judge.
THE DEFENDANT appeals an adverse judgment for payment of mail boxes furnished to a condominium project. Neither the delivery, product quality or failure of payment were at issue; only whether this defendant is legally liable for the debt. We find that it is not.
The only nexus that the defendant, Treasure Island Club Association, Inc., has to the facts of this case are that it is in fact the defendant. The letter (r-37) (App. 1) upon which plaintiff bases its claim fails to establish liability for two reasons:
*129(1) the letter nowhere refers to this corporate defendant, and
(2) even more importantly, the letter is neither an admission of liability nor a contractual obligation on its face.
The' decision of the trial court is hereby reversed and remanded for the entry of a judgment consistent with this opinion.
Reversed and remanded.
MOXLEY, JOHN DEAN, JUDGE, concurs.
GOSHORN, GILBERT, JR., JUDGE, concurs in result only
